                          Case 1:19-cr-00117-KAM Document 67 Filed 11/10/21 Page 1 of 1 PageID #: 651
CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)
 1. CIR./DIST./ DIV. CODE                         2. PERSON REPRESENTED                                                               VOUCHER NUMBER
       19CR117 & 17CR48                              SANMYAH CEASAR
 3. MAG. DKT./DEF. NUMBER                                   4. DIST. DKT./DEF. NUMBER                     5. APPEALS DKT./DEF. NUMBER                     6. OTHER DKT. NUMBER


7. IN CASE/MATTER OF (Case Name)                            8. PAYMENT CATEGORY                           9. TYPE PERSON REPRESENTED                      10. REPRESENTATION TYPE
               USA v SINMYAH CEASAR                             Felony                 Petty Offense          Adult Defendant               Appellant           (See Instructions)
                                                                Misdemeanor            Other                  Juvenile Defendant            Appellee
                                                                Appeal                                        Other
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to severity of offense.



12. ATTORNEY’S NAME (First Name, M.I., Last Name, including any suffix),                                   13. COURT ORDER
    AND MAILING ADDRESS                                                                                           O Appointing Counsel                            C Co-Counsel
    DONALD DUBOULAY                                                                                               F Subs For Federal Defender                     R Subs For Retained Attorney
    305 BROADWAY, SUITE 602                                                                                       P Subs For Panel Attorney                       Y Standby Counsel
    NY, NY 10007
                                                                                                            Prior Attorney’s Name:
                                                                                                               Appointment Dates:
                                                                                                                   Because the above-named person represented has testified under oath or has otherwise
               Telephone Number :                              212-966-3970                                satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does not
                                                                                                           wish to waive counsel, and because the interests of justice so require, the attorney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)                                   name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                                   Other (See Instructions)

                                                                                                                                              Kiyo A. Matsumoto, Esq.
                                                                                                                                Signature of Presiding Judge or By Order of the Court

                                                                                                                              11/10/2021
                                                                                                                             Date of Order                            Nunc Pro Tunc Date
                                                                                                           Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                           appointment.              YES        NO

                                   CLAIM FOR SERVICES AND EXPENSES                                                                                  FOR COURT USE ONLY
                                                                                                                  TOTAL                MATH/TECH.             MATH/TECH.
                                                                                           HOURS                                                                                      ADDITIONAL
                CATEGORIES (Attach itemization of services with dates)                                           AMOUNT                 ADJUSTED               ADJUSTED
                                                                                          CLAIMED                                                                                       REVIEW
                                                                                                                 CLAIMED                 HOURS                 AMOUNT
15.             a. Arraignment and/or Plea
                b. Bail and Detention Hearings
                c.   Motion Hearings
                d.   Trial
In Court




                e.   Sentencing Hearings
                f.   Revocation Hearings
                g.   Appeals Court
                h.   Other (Specify on additional sheets)
                (RATE PER HOUR = $                              )    TOTALS:
16.             a. Interviews and Conferences
                b. Obtaining and reviewing records
Out of Court




                c. Legal research and brief writing
                d. Travel time
                e. Investigative and other work (Specify on additional sheets)
                (RATE PER HOUR = $                              )    TOTALS:
17.             Travel Expenses (lodging, parking, meals, mileage, etc.)
18.             Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                              20. APPOINTMENT TERMINATION DATE                           21. CASE DISPOSITION
                                                                                                               IF OTHER THAN CASE COMPLETION
               FROM:                                           TO:
22. CLAIM STATUS                               Final Payment               Interim Payment Number                                            Supplemental Payment
               Have you previously applied to the court for compensation and/or reimbursement for this case?    YES         NO       If yes, were you paid?      YES         NO
               Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
               representation?     YES         NO            If yes, give details on additional sheets.
               I swear or affirm the truth or correctness of the above statements.
               Signature of Attorney                                                                                                            Date

                                                                    APPROVED FOR PAYMENT — COURT USE ONLY
23. IN COURT COMP.                              24. OUT OF COURT COMP.           25. TRAVEL EXPENSES              26. OTHER EXPENSES                        27. TOTAL AMT. APPR./CERT.


28. SIGNATURE OF THE PRESIDING JUDGE                                                                               DATE                                     28a. JUDGE CODE

29. IN COURT COMP.                              30. OUT OF COURT COMP.           31. TRAVEL EXPENSES              32. OTHER EXPENSES                        33. TOTAL AMT. APPROVED


34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                      DATE                                     34a. JUDGE CODE
    in excess of the statutory threshold amount.
